
PER CURIAM.
We initially accepted review of the decision in Dyson v. State, 934 So.2d 548 (Fla. 3d DCA 2006), based on alleged express and direct conflict with Hale v. State, 630 So.2d 521 (Fla.1993), and State v. Ferreira, 840 So.2d 304 (Fla. 5th DCA 2003). Upon further consideration we conclude that jurisdiction was improvidently granted. Accordingly, we hereby discharge jurisdiction and dismiss this review proceeding.
It is so ordered.
LEWIS, C.J., and WELLS, ANSTEAD, PARIENTE, QUINCE, CANTERO, and BELL, JJ., concur.
